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                 IN THE UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT


GAVIN NEW SOM, in /925 cy%ia/ 64/84629 as
Governor of Z/96 5m/6 of C4/rnia; STATE OF
 CALIFORNIA,
                                                                    No. 25-3727
                             Plaintiffs-Appellees,

                     V.


DONALD J, TRUMP, in I92: 9641 eapaeigf as
President of Z/Qe United States; PETE HEGSETH, in
I92; cyndia/ eapaeigf as Seeretafy of Z/ae Deparfeeent of
D v 2 s e ; DEPARTMENT OF DEFENSE,


                            Defendants-Appellants.




                          CIRCUIT RULE 27-3 CERTIFICATE

         The undersigned counsel certifies that the following is the information

required by Circuit Rule 27-3:

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       (2) Existence and nature of the emergency

       On June 12, district court entered an unprecedented order enjoining the

President from deploying National Guardsmen to protect federal officers attempting

to enforce federal immigration laws from ongoing violent protests and attacks

intended to interfere with those efforts, and to protect federal property from further

damage. The accompanying motion requires resolution on an emergency timeframe

because the district court's order is an extraordinary intrusion on the President's

constitutional authority as Commander in Chief to call forth the National Guard as

necessary to protect federal officials, as well as his statutory authority under 10 U.S.C.

§ 12406 to mobilize state National Guards into federal service to quell riotous mobs

committing crimes against federal personnel and property and to protect federal
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officials' ability to enforce federal law. The order also puts federal officers in harms'

way every minute that it is in place.

      The accompanying motion could not have been filed earlier. The district court

entered its order on June 12, 2025 at approximately 6:00 pm PT. The federal

government noticed this appeal shoddy after and tiled this motion approximately one

hour later at 7:00 PM PT.

       (3) Notice to opposing parties

      Prior to filing this motion, defendants contacted lead counsel for plaintiffs and

informed them of defendants' intent to seek a stay pending appeal. Plaintiffs plan to

inform the Court of their position on the motion later this evening. Upon filing this

motion, defendants will provide a service copy to plaintiffs' counsel via email.

       (4) Relief sought in district court

      In opposing plaintiffs' motion for a temporary restraining order, defendants

requested that "[t]o the extent the Court issues any injunctive relief," such "relief by

stayed pending the disposition of any appeal that is authorized." A2321 The district

court stayed its order until 12:00 PM PT on June 13, 2025. A295.




1 Citations to 'W' are to the addendum accompanying defendants' stay motion.
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                            /s/ Anna O. Mo/a0n
                           ANNA O. MOHAN
